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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


         GOVERNMENT’S LIST OF 902(11) & 902(13) DECLARATIONS


        Pursuant to the Court’s Orders on the government’s Motion in Limine; Atlantic

 Unions Motion to Quash, and the Government’s Response to the same (ECF Nos. 367,

 344, 363, and 367, respectively), the government provides the following list of all

 custodial declaration, pursuant to Fed. Rs. Evid. 902(11) and 902(13), that it intends

 to use to authenticate trial exhibits of non-hearsay business records.

        The proposed declarations are attached (in the cumulative), as Exhibit 1 to this

 filing.1 The most recent version of the government’s anticipated Exhibit List for trial

 is attached as Exhibit 2 to this filing.2




 1     Certain certifications have been redacted for public filing when they mention
 private, identifying information regarding individuals who are not on trial. The
 defense has received unredacted versions, which will be used at trial.
 2     A final version of the government’s Exhibit List will be filed on Friday, January
 26, 2024. See ECF Nos. 241 & 317 (Orders setting pretrial and motions deadlines).
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          Custodian Name3       Exhibit Nos. &               Type of Record
                                Corresponding Bates
                                No.

     1.   Access National       ** 1135 (ACNB_00001)         Bank Records
          Bank**

     2.   American              * 1129 (AMEX_00001)          Account Records
          Express*

     3.   Apple                 1115 (SW_FIL_342321-22)      Subscriber
                                                             Information & Other
                                1140 (ORD_15053-54)
                                                             Messaging-Service
                                                             Related Records

     4.   ANB Bank              1101 (ANB_00002)             Bank Records
                                1102 (ANB_00035)

     5.   Atlantic Union        1100 (ACNB_00101)            Bank Records
          Bank

     6.   AT&T                  1127 (ORD_20003-04)          Subscriber
                                                             Information & Other
                                                             Messaging-Service
                                                             Related Records

     7.   BBVA                  1103 (BBVA_00002)            Bank Records
                                1104 (BBVA_00280)

     8.   Coinbase**            ** 1136 (COIN_00076)         Account Records
                                ** 1137 (COIN_00077)
                                ** 1138 (COIN_00078)

     9.   GoDaddy               1108 (ORD_19742)             Account Records




 3     Custodians marked with a star provided declarations subsequent to the James
 Hearing. Custodians marked with two stars provided declarations subsequent to the
 Court’s Order on January 19, 2014 (ECF No. 367), or were inadvertently left off of
 the previous lists. All declarations have been provided to the defense in discovery.
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          Custodian Name3     Exhibit Nos. &             Type of Record
                              Corresponding Bates
                              No.

    10.   Google**            1109 (ORD_17711)           Subscriber
                              1114 (SW_FIL_00094-99)     Information & Other
                                                         Messaging-Service
                              1116 (SW_FIL_11402-07)     Related Records
                              1117 (SW_FIL_11557-61)
                              1122 (ORD_19955-61)
                              1123 (ORD_19962-76)
                              1124 (ORD_19977-91)
                              1125 (ORD_19992-96)
                              1126 (ORD_19997-20002)
                              ** 1141     (GPAY_00097-
                              00106)

    11.   Guaranty Bank &     1105 (GUAR_00001)          Bank Records
          Trust Company

    12.   Kraken              1106 (KRKN_00001)          Know Your Customer,
                                                         Account, &
                                                         Transaction Records

    13.   McDonald            1131 (AUDI_00042)          Account &
          Automotive                                     Transaction Records
          Group (Audi)*

    14.   National Air**      1130 (NAC_E_204515-16)     Email Records &
          Cargo               1134 (NAC_00978-79)        Business Records

    15.   Navy Federal        1107 (NAVY_00002-03)       Bank Records
          Credit Union**      1128 (NAVY_02211-12)
                              ** 1139 (NAVY_02217)

    16.   Red Leaf (Digital   ** 1132 (DGMT_00001)
          Mint)**             ** 1133 (DGMT_00814)

    17.   Regions Bank        1111 (REG_00001)           Bank Records



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          Custodian Name3     Exhibit Nos. &               Type of Record
                              Corresponding Bates
                              No.

    18.   Simple Finance      1112 (SFT_00001)             Account Records
          Technology Corp.

    19.   Signature Bank      1113 (SIG_0678)              Bank Records

    20.   Vcorp               1118 (VCORP_00001)           Account Records &
                                                           Emails

    21.   Verizon             1110 (ORD_19935)             Subscriber
                                                           Information & Other
                                                           Messaging-Service
                                                           Related Records

    22.   Wells Fargo Bank    1119 (WFB_00144-46)          Bank Records
                              1120 (WFB_01054-58)

    23.   Wynn Las Vegas      1121 (WYNN_00002)            Account & Business
                                                           Records



                                    COLE FINEGAN
                                    United States Attorney

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 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                        /s/ Sarah H. Weiss
                                                        Sarah H. Weiss



 Statement of Speedy Trial Impact

         Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
 that this filing will not affect the speedy trial clock in this case because any resolution
 of it will be within the already-granted ends-of-justice continuances granted on March
 17, 2023. ECF Nos. 317 and 318.

                                                        /s/ Sarah H. Weiss
                                                        Sarah H. Weiss




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                            CERTIFICATE OF SERVICE

        I hereby certify that on this 24th day of January, 2024, I electronically filed
 the foregoing with the Clerk of the Court using the CM/ECF system that will send
 notification of such filing to counsel of record in this case.




                                                s/ Sarah H. Weiss
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